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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
IN RE NATIONAL FOOTBALL LEAGUE                           :       No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY LITIGATION                    :
                                                         :       MDL No. 2323
                                                         :
THIS DOCUMENT RELATES TO                                 :
                                                         :
Maxwell, et al. (Case No. 12-cv-1023)                    :
Pear, et al. (Case No. 12-cv-1025)                       :
Monk, et al. (Case No. 12-cv-3533)                       :
Henderson, et al. (Case No. 12-cv-3534)                  :
Kuechenberg, et al. (Case No. 12-cv-3535)                :
Kapp, et al. (Case No. 12-cv-4575)                       :
Bauman, et al. (Case No. 12-cv-4576)                     :
Bailey, et al. (Case No. 12-cv-05372)                    :
                                                         :

                                  [PROPOSED] ORDER


       AND NOW, upon consideration of Defendants National Football League and NFL

Properties LLC’s Motion to Dismiss the Master Administrative Long Form Complaint on

Preemption Grounds (ECF No. 3589), Certain Plaintiffs’ response in opposition thereto, and

Defendants’ reply, it is hereby ORDERED that for the reasons set forth in the accompanying

Memorandum Opinion, the Motion is DENIED.


      It is so ORDERED.


                                                  Anita B. Brody

______________________________                    __________________________
            Date                                  United States District Judge


Copies VIA ECF on ___________to:                  Copies MAILED on ________ to:
